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                                                                      8   Attorney for Defendant,
                                                                          COSTCO WHOLESALE CORPORATION
                                                                      9
                                                                                                      UNITED STATES DISTRICT COURT
                                                                     10
Gordon Rees Scully Mansukhani, LLP




                                                                                                              DISTRICT OF NEVADA
                                                                     11
                                     300 S. 4th Street, Suite 1550




                                                                     12   MELISSA ELIZABETH HOFFMAN,                            )   Case No.: 2:19-cv-00462-KJD-BNW
                                        Las Vegas, NV 89101




                                                                          individually,                                         )
                                                                     13                                                         )
                                                                                                Plaintiff,                      )   JOINT STIPULATION AND
                                                                     14                                                         )   [PROPOSED] ORDER TO STAY
                                                                          vs.                                                   )   DISCOVERY PENDING
                                                                     15                                                         )   COMPLETION OF MEDIATION
                                                                          COSTCO WHOLESALE CORPORATION,                         )
                                                                     16   a Delaware corporation; FALCON FARMS,                 )
                                                                          INC., a California Corporation; DOES 1                )
                                                                     17   through 100; and ROE CORPORATIONS 1                   )
                                                                          through 100,                                          )
                                                                     18                                                         )
                                                                                                Defendants.                     )
                                                                     19                                                         )
                                                                     20          Plaintiff MELISSA ELIZABETH HOFFMAN (“Plaintiff”), by and through her attorneys

                                                                     21   of record, CHRISTIAN Z. SMITH, ESQ. of the law firm RICHARD HARRIS LAW FIRM,

                                                                     22   Defendant FALCON FARMS, INC. (“Falcon Farms”), by and through its attorneys of record,

                                                                     23   BRIAN GOLDMAN, ESQ. and JAMES P.C. SILVESTRI, ESQ. of the law firm PYATT

                                                                     24   SILVERSTRI, and Defendant COSTCO WHOLESALE CORPORATION (“Costco”), by and

                                                                     25   through its attorneys of record, ROBERT E. SCHUMACHER, ESQ. and DIONE C. WRENN,

                                                                     26   ESQ. of the law firm GORDON REES SCULLY MANSUKHANI, LLP, (collectively,

                                                                     27   “Defendants” or the “Parties”) hereby stipulate and request that the court stay discovery until

                                                                     28   after the Parties complete a mediation. The Parties have previously requested two extensions to

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                                                                      1   the scheduling order. In support of this Stipulation, the Parties state as follows:

                                                                      2   I.     CURRENT DEADLINES:
                                                                      3          The current deadlines under the Amended Stipulated Discovery Plan and Scheduling

                                                                      4   Order [ECF No. 43] dated May 11, 2020 are as follows:

                                                                      5                   All Parties shall complete discovery on or before October 5, 2020;
                                                                      6                   All Parties shall file motions to amend pleadings or add Parties on or before
                                                                      7                    CLOSED;
                                                                      8                   All Parties shall file Interim Status Report on or before August 3, 2020;
                                                                      9                   All Parties shall make initial expert disclosures pursuant to NRCP 16.1(a)(2) on
                                                                     10                    or before August 3, 2020;
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                                                                     11                   All Parties shall make rebuttal expert disclosures pursuant to NRCP 16.1(a)(2) on
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                                                                     12                    or before September 8, 2020;
                                        Las Vegas, NV 89101




                                                                     13                   All Parties shall file dispositive motions no later than November 9, 2020;
                                                                     14                   All Parties shall file Joint Pre-Trial Order no later than December 7, 2020.
                                                                     15   II.    STATEMENT SPECIFYING THE DISCOVERY COMPLETED:
                                                                     16          To date, the Parties have engaged in substantial discovery including but not limited to the

                                                                     17   following:

                                                                     18                   On April 3, 2019, the Parties conducted the Rule 26 Conference.
                                                                     19                   On April 3, 2019, Plaintiff served her FRCP 26(f) Initial Disclosure Statement;
                                                                     20                   On April 9, 2019, Costco served its FRCP 26(f) Initial Disclosure Statement;
                                                                     21                   On April 10, 2019, the Parties submitted a Stipulated Discovery Plan and
                                                                     22                    Scheduling Order for the Court’s approval;

                                                                     23                   On April 11, 2019, Plaintiff served written discovery on Costco. Plaintiff gave
                                                                     24                    Defendant an extension to respond to the written discovery;

                                                                     25                   On April 26, 2019, Plaintiff served her 1st Supplement to her FRCP 26(f) Initial
                                                                     26                    Disclosure Statement;
                                                                     27                   On May 1, 2019, Costco served its 1st Supplement to its FRCP 26(f) Initial
                                                                     28                    Disclosure Statement;

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                                                                      1               On May 3, 2019, Costco served its written discovery on Plaintiff;
                                                                      2               On May 28, 2019, Costco responded to Plaintiff’s written discovery;
                                                                      3               On June 5, 2019, Plaintiff served her 3rd Supplement to her FRCP 26(f) Initial
                                                                      4                Disclosure Statement;

                                                                      5               On June 10, 2019, Plaintiff served her 4th Supplement to her FRCP 26(f) Initial
                                                                      6                Disclosure Statement;

                                                                      7               On June 10, 2019, Plaintiff responded to Costco’s written discovery;
                                                                      8               On June 22, 2019, Plaintiff served her 5th Supplement to her FRCP 26(f) Initial
                                                                      9                Disclosure Statement;

                                                                     10               On July 2, 2019, Plaintiff served first amended responses to Costco’s First Set of
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                                                                     11                Requests for Production of Documents;
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                                                                     12               On July 19, 2019, Plaintiff served second amended responses to Costco’s First Set
                                        Las Vegas, NV 89101




                                                                     13                of Requests for Production of Documents;

                                                                     14               On August 7, 2019, Plaintiff served written discovery on Defendant Falcon
                                                                     15                Farms;

                                                                     16               On August 9, 2019, Plaintiff served her 6th Supplement to her FRCP 26(f) Initial
                                                                     17                Disclosure Statement;

                                                                     18               On September 19, 2019, Falcon Farms served its FRCP 26(f) Initial Disclosure
                                                                     19                Statement;

                                                                     20               On September 19, 2019, Falcon Farms responded to Plaintiff’s written discovery;
                                                                     21               On September 30, 2019, Plaintiff served written discovery on Falcon Farms and
                                                                     22                Costco;

                                                                     23               On September 30, 2019, Plaintiff served her 7th Supplement to her FRCP 26(f)
                                                                     24                Initial Disclosure Statement;

                                                                     25               On October 27, 2019, Plaintiff served her 9th Supplement to her FRCP 26(f)
                                                                     26                Initial Disclosure Statement;
                                                                     27               On November 1, 2019, Falcon Farms served its First Supplement to its FRCP
                                                                     28                26(f) Initial Disclosure Statement;

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                                                                      1               On November 4, 2019, Falcon Farms served its Second Supplement to its FRCP
                                                                      2                26(f) Initial Disclosure Statement;

                                                                      3               On November 4, 2019, Falcon Farms and Costco responded to Plaintiff’s written
                                                                      4                discovery;

                                                                      5               On November 4, 2019, the depositions of Falcon Farms’ employees, Ingrid and
                                                                      6                Jayden Weiner were completed;

                                                                      7               On November 5, 2019, the deposition of Falcon Farms’ employee Cari Lynn
                                                                      8                Jenkins was completed;

                                                                      9               On November 26, 2019, the deposition of Kayla Apostolec, Plaintiff’s daughter
                                                                     10                was completed;
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                                                                     11               On November 6, 2019, Plaintiff served her 10th Supplement to her FRCP 26(f)
                                     300 S. 4th Street, Suite 1550




                                                                     12                Initial Disclosure Statement;
                                        Las Vegas, NV 89101




                                                                     13               On November 19, 2019, Plaintiff served her 11th Supplement to her FRCP 26(f)
                                                                     14                Initial Disclosure Statement;

                                                                     15               On November 22, 2019, Plaintiff served her 12th Supplement to her FRCP 26(f)
                                                                     16                Initial Disclosure Statement.

                                                                     17               Plaintiff’s Independent Medical Examination performed on December 13, 2019;
                                                                     18               On January 16, 2020, Plaintiff served her 13th Supplement to her FRCP 26(f)
                                                                     19                Initial Disclosure Statement;

                                                                     20               On February 5, 2020, Plaintiff served her 14th Supplement to her FRCP 26(f)
                                                                     21                Initial Disclosure Statement;

                                                                     22               On February 6, 2020, Plaintiff served her 15th Supplement to her FRCP 26(f)
                                                                     23                Initial Disclosure Statement; and

                                                                     24               On February 6, 2020, the deposition of Plaintiff was completed;
                                                                     25               On February 7, 2020, Costco served its 2nd Supplement to its FRCP 26(f) Initial
                                                                     26                Disclosure Statement;
                                                                     27               On February 10, 2020, Plaintiff served supplemental answers to Costco’s First Set
                                                                     28                of Interrogatories;

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                                                                      1                  On February 13, 2020, Falcon Farms served its Third Supplement to its FRCP
                                                                      2                   26(f) Initial Disclosure Statement;

                                                                      3                  On March 16, 2020, Falcon Farms served its Fourth Supplement to its FRCP 26(f)
                                                                      4                   Initial Disclosure Statement;

                                                                      5                  On April 3, 2020, Costco served its 3rd Supplement to its FRCP 26(f) Initial
                                                                      6                   Disclosure Statement;

                                                                      7                  On June 3, 2020, Costco served its 4th Supplement to its FRCP 26(f) Initial
                                                                      8                   Disclosure Statement

                                                                      9                  On June 15, 2020, the Parties took the deposition of percipient witness Denisse
                                                                     10                   Marquez; and
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                                                                     11                  On June 24, 2020, Plaintiff served her 16th Supplement to her FRCP 26(f) Initial
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                                                                     12                   Disclosure Statement.
                                        Las Vegas, NV 89101




                                                                     13   III.   STATEMENT OF DISCOVERY THAT REMAINS TO BE COMPLETED:
                                                                     14          The discovery that remains to be completed includes the following:

                                                                     15                  Depositions of Defendants’ Rule 30(b)(6) witnesses;
                                                                     16                  Depositions of Plaintiff’s treating providers;
                                                                     17                  Designation of initial and rebuttal experts by all Parties;
                                                                     18                  Depositions of designated expert witnesses; and
                                                                     19                  Additional written discovery, as necessary.
                                                                     20   IV.    REASONS WHY A STAY IS REQUESTED:
                                                                     21          1.       The Parties have agreed to participate in a mediation with the Honorable Jackie

                                                                     22   Glass, Ret. The Parties are currently coordinating a date with Judge Glass to hold the mediation,

                                                                     23   and anticipate it will be held within 60 days from the date of this stipulation.

                                                                     24          2.       The Parties agree it is in the best interest of all parties to wait until the mediation

                                                                     25   process is complete prior to incurring the time and expense of further written discovery, initial

                                                                     26   and rebuttal expert designations, depositions of experts and treating physicians, and motion
                                                                     27   practice as the mediation could resolve this matter in its entirety, thereby relieving the Parties

                                                                     28   and the court of further cost and expense.

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                                                                      1          3.      It would be burdensome and unfair to have the Parties incur the expense of time-

                                                                      2   consuming and costly discovery because the Parties have agreed to stay such proceedings in

                                                                      3   favor of attempting to achieve an early resolution to this matter. Rule 1 of the Federal Rules of

                                                                      4   Civil Procedure provides that the federal rules of practice should be “construed and administered

                                                                      5   to secure the just, speedy, and inexpensive determination of every action and proceeding.”

                                                                      6   (emphasis added). Thus, staying discovery in this case is consistent with the spirit and intent of

                                                                      7   the Federal Rules of Civil Procedure. If a stay is not granted, the parties will be required to

                                                                      8   engage in and incur the costs of the remaining discovery, which may not be necessary.

                                                                      9          4.      In order to preserve the Parties’ and the Court’s resources, and to promote judicial

                                                                     10   economy, the Parties have agreed, subject to the Court’s approval, to stay all discovery for
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                                                                     11   approximately 60 days, or until September 28, 2020, in order for the Parties to complete the
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                                                                     12   agreed upon mediation.
                                        Las Vegas, NV 89101




                                                                     13          5.      In the event that the Parties are unable to reach a resolution at the mediation, the

                                                                     14   Parties agree that they will submit to the court an amended Discovery Plan and Scheduling Order

                                                                     15   no later than ten days (10) days from the conclusion of the mediation.

                                                                     16          6.      This stipulation is made in good faith and not for the purposes of delay.

                                                                     17    DATED this 28th day of July 2020.                     DATED this 28th day of July 2020.

                                                                     18    GORDON & REES SCULLY                                  PYATT SILVESTRI
                                                                           MANSUKHANI LLP
                                                                     19
                                                                           /s/ Dione C. Wrenn                                    /s/ Brian W. Goldman
                                                                     20
                                                                           Robert E. Schumacher, Esq.                            James P.C. Silvestri, Esq.
                                                                     21    Nevada Bar No. 7504                                   Nevada Bar No. 3603
                                                                           Dione C. Wrenn, Esq.                                  Brian W. Goldman, Esq.
                                                                     22    Nevada Bar No. 13285                                  Nevada Bar No. 6317
                                                                           300 South 4th Street, Suite 1550                      701 Bridger Ave., Suite 600
                                                                     23    Las Vegas, NV 89101                                   Las Vegas, NV 89101
                                                                           Attorneys for Defendant                               Attorney for Defendant
                                                                     24    COSTCO WHOLESALE                                      FALCON FARMS, INC.
                                                                           CORPORATION
                                                                     25

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                                                                      1     DATED this 28th day of July 2020.

                                                                      2    RICHARD HARRIS LAW FIRM
                                                                      3    /s/ Christian Z. Smith
                                                                           Christian Z. Smith, Esq.
                                                                      4    Nevada Bar No. 8266
                                                                           80 South Fourth Street
                                                                      5    Las Vegas, NV 89101
                                                                           Attorney for Plaintiff
                                                                      6    MELISSA ELIZABETH HOFFMAN
                                                                      7    IT IS ORDERED that the parties' stipulation is GRANTED. Discovery is stayed
                                                                      8    until September 28, 2020. IT IS FURTHER      ORDERED that by October 12, 2020,
                                                                                                                    ORDER
                                                                           the parties must submit a joint status report providing an update on the mediation
                                                                      9                                             IT ISthe
                                                                           (whether it has occurred, and if so, whether    SOparties
                                                                                                                              ORDERED:
                                                                                                                                     settled). IT IS FURTHER
                                                                           ORDERED that if the parties have not settled by October 12, 2020, they must also
                                                                     10    submit a proposed, revised discovery plan and scheduling order, regardless of
Gordon Rees Scully Mansukhani, LLP




                                                                     11    whether the mediation has occurred. _______________________________________
                                                                                                                 UNITED STATES MAGISTRATE JUDGE
                                     300 S. 4th Street, Suite 1550




                                                                     12                                            IT IS SO ORDERED
                                        Las Vegas, NV 89101




                                                                                                                 DATED:
                                                                     13
                                                                                                                   DATED: 5:24 pm, July 30, 2020
                                                                     14

                                                                     15
                                                                                                                   _________________________________
                                                                     16                                            BRENDA WEKSLER
                                                                     17                                            UNITED STATES MAGISTRATE JUDGE

                                                                     18
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